                                   United States Bankruptcy Court
                                    Eastern District of Michigan
                                         Southern Division

In the Matter of:

       Celina D. Carson                                 Case No. 11-41480
                                                        Chapter: 7
                                                        Hon. Walter Shapero
               Debtors.
                              /


 Order Denying Objection of Vernon C. Taylor to Court’s Opinion of June 1, 2011 Order
                           Incident Thereto of June 7, 2011

       The Court having issued its Opinion Granting United States Trustee’s Motion for an Order

Regarding Debtor’s Bankruptcy Petition Preparer to Make Payments to the Debtor, the Court and

United States Trustee, and an order incident thereto; Vernon C. Taylor, who was the subject of said

Opinion and Order, having filed and Objection to said Opinion and Order; the Court treating said

objection as a Motion for Reconsideration under LBR 9024-1(a); the Court having concluded that

such neither demonstrates a palpable defect by which the Court and the parties have been misled,

nor shows that a different disposition of the matter must result from a correction;

       Now therefore said objection (treated as a Motion for Reconsideration) is denied.


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Signed on June 24, 2011
                                                            /s/ Walter Shapero
                                                        Walter Shapero
                                                        United States Bankruptcy Judge




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